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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA,                          §
                                                   §
             Plaintiff,                            §
VS.                                                §   MAGISTRATE ACTION NO. C-07-529
                                                   §
DOMINGO RAMIREZ,                                   §
                                                   §
             Defendant.                            §


      MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL


         A detention hearing has been held in accordance with the Bail Reform Act, 18 U.S.C. §

3142(f). The following requires detention of the defendant pending trial in this case:

         (1)       There is probable cause to believe the defendant committed an offense for which

a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. §

841(b)(1)(A); and

         (2)       The defendant has not rebutted the presumption that no condition or combination

of conditions will reasonably assure the appearance of the defendant as required and the safety of

the community.

         The evidence against the defendant is substantial.        The findings and conclusions

contained in the Pretrial Services Report are adopted. The defendant has been involved in

trafficking significant amounts of drugs for several years and is a drug user himself. There are

no conditions which would ensure the safety of the community and the presence of the defendant

for trial.

         The defendant is committed to the custody of the Attorney General or his designated


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representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. The defendant

shall be afforded a reasonable opportunity for private consultation with defense counsel. On

order of a court of the United States or on request of an attorney for the Government, the person

in charge of the corrections facility shall deliver the defendant to the United States marshal for

the purpose of an appearance in connection with a court proceeding.

       ORDERED this 25th day of September, 2007.




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